Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 1 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 2 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 3 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 4 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 5 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 6 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 7 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 8 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document      Page 9 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document     Page 10 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document     Page 11 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document     Page 12 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document     Page 13 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document     Page 14 of 15
Case 1:15-bk-12127   Doc 25    Filed 12/16/15 Entered 12/16/15 15:09:40   Desc Main
                              Document     Page 15 of 15
